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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                                CASE NO.

 CLIFTON R. HOWARD, JR.,

        Plaintiff,

 vs.

 UNITED STATES OF AMERICA,
 through its agency, U.S. DEPARTMENT
 OF VETERANS AFFAIRS,

        Defendant.
                                                         /

                                COMPLAINT FOR DAMAGES
                             UNDER FEDERAL TORT CLAIMS ACT

        Plaintiff, CLIFTON R. HOWARD, JR. (“Howard”), by and through his undersigned

 counsel, hereby files this Complaint against Defendant, UNITED STATES OF

 AMERICA, through its agency, U.S. DEPARTMENT OF VETERANS AFFAIRS

 (“Veterans Affairs”), and alleges as follows:

                 JURISDICTION, VENUE AND CONDITIONS PRECEDENT

        1.      Plaintiff, Howard, is a resident of the Southern District of Florida, and is

 otherwise sui juris.

        2.      This is an action against Defendant, UNITED STATES OF AMERICA

 (“United States”), acting through its agency, U.S. DEPARTMENT OF VETERANS

 AFFAIRS (“U.S. Dept. of Veterans Affairs”), pursuant to the Federal Tort Claims Act,

 28 U.S.C. § 2671, et seq. and 28 U.S.C. § 1346(b)(1). The lawsuit involves claims for

 professional medical negligence in connection with medical care provided to Plaintiff,

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 Howard, by the U.S. Dept. of Veterans Affairs at the Veterans Affairs Hospital and

 Medical Offices located at 1201 N.W. 16 th Street, Miami, FL 33125.                          Jurisdiction is

 proper under 28 U.S.C. § 1346(b)(1). At all times material hereto, Howard was a patient

 at the U.S. Dept. of Veterans Affairs facility.

        3.     The lawsuit involves a claim for money damages and compensation in

 excess of $75,000.00, as more fully stated in Plaintiff’s federal tort claim compliance

 documentation, because of the wrongful acts and omissions of the U.S. Dept. of

 Veterans Affairs through its doctors, nurses, health care employees and agents. (See

 Exhibit 1, the Standard Form 95, which is attached hereto inclusive of all information

 originally included therein).

        4.     The    lawsuit     is against        the     United     States      because,      under   the

 circumstances related hereto, its agency, the U.S. Dept. of Veterans Affairs, caused

 Plaintiff to be seriously and permanently injured due to medical negligence and

 because, under the circumstances applicable, Defendant would be liable to Plaintiff if it

 were a private person pursuant to the substantive laws of the state of Florida.

        5.     Venue related to this lawsuit is proper in the Southern District of Florida in

 that all of the acts and/or omissions forming the basis of this claim occurred in South

 Florida. As more fully stated hereinafter, Howard presented to the VA hospital in Miami-

 Dade County with a bone infection which went negligently undiagnosed and/or

 improperly diagnosed as other ailments.               Such conduct, and the resulting failure to

 administer proper medical testing and treatment, resulted in the serious progression of

 the infection and the eventual amputation of Howard’s left leg. As more fully delineated

 hereinafter, had the infection been properly diagnosed, treated and cared for, the

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 resulting infection would have been cured and Howard would not have lost his leg. The

 medical malpractice forming the basis of this lawsuit resulted in substantial permanent

 injuries and disabilities, and all conduct related occurred in Miami-Dade County, Florida.

        6.     Venue is proper under 28 U.S.C. § 1402(b) in that the acts or omissions

 forming the basis of the claims related to this case all occurred in Miami-Dade County,

 Florida, and within the Southern District of Florida.

        7.     This lawsuit has been timely filed in that Plaintiff, Howard, timely served

 notice of his claim on the Office of Chief Counsel, U.S. Department Of Veterans Affairs;

 the Office of Chief Counsel, Florida Department of Veterans Affairs; Secretary Robert

 McDonald, U.S. Department of Veterans Affairs; Risk Management Department, Claims

 Department, Federal Tort Claims Act, U.S. Department of Veterans Affairs; U.S.

 Department of Veterans Affairs, VA, HealthCare, Miami VA Healthcare System, Claim

 Department for Medical Malpractice, Claims Per Federal Tort Claims Act; and Catherine

 Mitrano, Office of Chief Counsel, Florida Department of Veterans Affairs, less than two

 years after the incident forming the basis of this lawsuit. (See Exhibit 1 attached hereto,

 including the October 7, 2016 letter with all attachments thereto).

        8.     By letter dated October 21, 2016, the Department of Veterans Affairs,

 through its office of Chief Counsel, confirmed receipt of Plaintiff’s notice of claim and

 assumed responsibility for the processing of the claim. More than six (6) months has

 now elapsed and Defendant has failed to either accept or reject the claim. Pursuant to

 28 U.S.C. § 2675, the failure of an agency to make a final disposition of a claim within

 six months after it is filed is deemed a final denial of the claim. As such, this lawsuit has




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 now been filed in accordance with the Federal Tort Claims Act and all conditions

 precedent have been fully satisfied.

                                                 THE PARTIES

        9.     At all times related hereto, Plaintiff, Howard, was a patient at Defendant’s

 agency, the U.S. Dept. of Veterans Affairs, and received treatment at the medical facility

 and hospital located in Miami-Dade County, Florida.

        10.    At all times related hereto, the United States, through its agency, the U.S.

 Dept. of Veterans Affairs, operated a Veterans Affairs Medical Center and Hospital

 located at 1201 N.W. 16th Street, Miami, FL 33125. In this regard, the U.S. Dept. of

 Veterans Affairs employs doctors, nurses, health care employees and subcontractor

 agents in Miami to render medical services and to provide care and treatment to

 patients, including Plaintiff, Howard.

        11.    At all times relevant to this Complaint, the U.S. Dept. of Veterans Affairs

 held itself out to provide reasonable medical care and treatment at its VA facilities in

 Miami with respect to healthcare services and to provide such services through its

 employed doctors, nurses, health care workers and/or other subcontractor agents as it

 pertains to Plaintiff in Miami, Florida.

        12.    At all times relevant to this Complaint, the directors, officers, operators,

 administrators, employees, agents, doctors, nurses, health care workers, other

 subcontractor agents and staff at the Miami VA Medical Center were employed by

 and/or acting on behalf of Defendant.                    Furthermore, Defendant is vicariously

 responsible for the negligent acts of its employees and agents under the doctrine of

 respondeat superior and by virtue of its direct negligence in failing to have in place

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 proper procedures, policies and standards of care to assure Howard received proper

 and reasonable medical treatment.

         FACTUAL ALLEGATIONS REGARDING THE MALPRACTICE CLAIM

        13.   On November 2, 2014, Mr. Howard, a veteran of the United States armed

 forces, went to the Veterans Affairs Hospital located at 1201 N.W. 16th Street, Miami,

 Florida, complaining of his left foot being swollen and painful. He was seen in the

 Emergency Department and released, being told by the medical care providers at the

 hospital to see podiatry the next day.

        14.   The next day, on November 3, 2014, Mr. Howard reported to the podiatry

 department at the Department of Veterans Affairs Hospital and health care complex and

 complained of not being able to walk and having substantial pain and discomfort in his

 leg. He was told by podiatry that he would be fine and was sent home.

        15.   Over the next month and a half, Mr. Howard continued to actively seek

 medical care from the Department of Veterans Affairs Hospital and health care complex

 and the various health care professionals employed therein.                           Unfortunately, Mr.

 Howard’s real medical condition was misdiagnosed multiple times.                            In this regard,

 Plaintiff was first incorrectly diagnosed as having “gout” (his uric acid was normal – it

 could not have been gout), then diagnosed as “likely deep vein thrombosis” (he showed

 no signs of such and the medical tests showed no clots), then he received a working

 diagnosis as possible “Charcot neuroarthropathy” (clearly inapplicable given the

 progressive symptoms exhibited by the patient and the failure of Charcot to be seen on

 simple x-rays performed when Howard was initially seen in the ER.)




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         16.     Throughout the time related to this case, the medical providers employed

 by Defendant failed to timely and properly order and then administer diagnostic testing,

 which, if properly ordered, would have shown Mr. Howard’s true medical pathology – a

 bone progressing infection. This medical condition could have been easily diagnosed

 and timely treated had Mr. Howard received proper diagnosis, treatment and medical

 care by Defendant. Moreover, had such proper care and treatment been provided, Mr.

 Howard’s bone infection would have been easily resolved without resulting in the loss of

 his left leg.

         17.     Mr. Howard was again seen in the Emergency Department on November

 18, 2014, complaining of worsening pain and swelling. During this visit, Mr. Howard

 was ordered to have a magnetic resonance imaging study (MRI) performed. However,

 when Mr. Howard presented to the department responsible for performing the MRI on

 November 18, he was told that the department was too busy. (The records actually

 reveal the entry as “Tech refused to do the study because of a backlog of cases.”)

         18.     Although Mr. Howard had been ordered to undergo an MRI and despite

 the fact that he had then been seen at the VA Hospital multiple times for progressing

 symptoms – all suggesting an ongoing worsening bone infection (he had progressive

 pain, swelling and significant ongoing advancing symptoms since November 2, 2014,

 along with substantial limitation when walking) – he was not given the much-needed

 and ordered MRI. Instead, and without any medical explanation found in the records, a

 CT scan – without contrast – was then administered. Incredibly, after undergoing the

 CT scan, the reporting radiologist actually stated that the CT revealed a “significant

 abnormality” and medical attention was then “needed.” However, despite the findings

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 on CT and the increasing symptomatology, no medical follow-up occurred. (In fact, at

 all times related hereto, Mr. Howard showed clear signs of a substantial osteomyelitis

 bone infection existing). Instead of treating Mr. Howard, he was given an appointment

 to the have the MRI performed some ten (10) days later – on November 28, 2014.

        19.    Because of the terrible pain Mr. Howard was suffering, he could not wait

 until November 28 for his appointment, and instead returned to the VA on November 24,

 2014, again complaining of tremendous pain (10 out of 10 on pain scale) with swelling

 and induration.

        20.    Despite his continued worsening condition and the emergent condition

 that was clearly then existing, Mr. Howard was again turned away from the Hospital

 without receiving the much needed MRI. He was again told that he “just needed to wait

 and return on the 28th.”

        21.    Although Mr. Howard did not receive the MRI on November 24, he was

 examined that day. Once again, his medical condition was misdiagnosed this time as

 Charcot neuroarthropathy. Mr. Howard was then given a compression stocking to wear

 (for the wrongly diagnosed Charcot neuroarthropathy), which under the then existing

 circumstances was wholly medically inappropriate.

        22.    At all times material hereto, the diagnosis of Charcot neuroarthropathy

 was wholly incorrect as such a diagnosis brings with it symptoms of loss of sensation

 and signs of a fracture – symptoms Howard never had and is a condition that was fully

 ruled out weeks earlier when Plaintiff had an x-ray in the ER department. In fact,

 through this time period, all of the diagnoses made were incorrect. Of course, a simple




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 MRI would have shown the true state of affairs – that Mr. Howard had been suffering

 from a bone infection.

        23.    Finally, on November 28, 2014, Mr. Howard underwent the MRI he should

 have earlier undergone.

        24.    Incredibly, despite the medical history pertinent to Mr. Howard’s care

 (progressive pain, swelling, substantial limitation when walking, multiple incorrect

 diagnoses and significant ongoing advancing symptoms since November 2, 2014), the

 delay in correctly diagnosing the condition was made worse by the fact that the VA did

 not have the MRI read until 3 days after it actually occurred.

        25.    Not surprisingly, when the MRI was finally interpreted, Mr. Howard was

 finally diagnosed with a bone infection.

        26.    Unfortunately, the obvious and simple diagnosis of a bone infection came

 much too late as the infection had been allowed to significantly progress and worsen.

 Ultimately, on December 18, 2014, Mr. Howard’s left lower leg was amputated below

 the knee due to the progression of the bone infection.

        27.    Under the circumstances of this case, Mr. Howard’s condition should have

 been diagnosed and treated long before it was finally detected. Had such occurred, Mr.

 Howard’s infection would have been cured and he would not have sustained the loss of

 his leg.

                          CAUSE OF ACTION – MEDICAL NEGLIGENCE

        28.    Plaintiff, Howard, realleges and reincorporates each and every allegation

 above as if fully stated herein.




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       29.    At all times related hereto, Defendant had a duty to provide ordinary and

 reasonable care, exercising that standard and degree of medical treatment required of

 similar health care providers in the local community. In this regard, the doctors, nurses,

 health care providers and other agent subcontractors employed by Defendant

 committed actionable negligence in treating Howard by failing to diagnosis his true

 medical condition and by not timely treating such condition. Moreover, at all times

 related to this Complaint, Defendant had the duty to hire competent medical

 administrators, doctors, employees, nurses, subcontractor agents and staff in order to

 meet its standards of care for patients, including Howard. The medical administrators,

 doctors, employees, nurses, subcontractor agents and staff committed actionable

 negligence by not providing that level of care consistent with the standards for medical

 facilities in Miami-Dade County, Florida. Indeed, Defendant knew and/or had reason to

 know (via its agents, employees, physicians, nurses, medical providers and other

 agents or employees) of Howard’s true medical condition and that he was in need of

 medical care and treatment.            Instead of fulfilling its duties, Defendant committed

 actionable negligence by one or more of the following affirmative acts of commission or

 omission:

              A.       Failing to appropriately administer, supervise and operate its VA

       facility with reasonable care under the circumstances;

              B.       Failing to adopt and implement appropriate policies, protocols and

       procedures so that the United States, through its agency, the U.S. Dept. of

       Veterans Affairs, would provide appropriate, proper and timely medical care,

       diagnosis and treatment in a timely and reasonable basis;

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               C.       Allowing an ongoing infection to continue unabated and by failing to

        appropriately have in place proper standards necessary to recognize that such

        condition existed and to properly treat the condition;

               D.       Failing to properly order and assure that proper diagnostic testing

        was performed in order to treat a then-existing condition experienced by Howard

        when the symptoms were present and/or the symptoms related thereto were

        easily detectible;

               E.       Failing to properly familiarize its medical staff with the ongoing

        medical conditions related to Howard’s diagnosis, care and treatment and by

        refusing to properly care for him when under all circumstances such should have

        occurred;

               F.       Failing to order timely and proper diagnostic testing and/or other

        appropriate substantive medical testing to diagnose the medical condition;

               G.       Failing to order appropriate administration of antibiotics and other

        medications;

               H.       Failing to order appropriate diagnostic procedures;

               I.       Failing to adequately and appropriately instruct its doctors, nurses

        and other health care professional concerning the need for care and treatment of

        ongoing bone infections;

               J.       Failing to order appropriate consultations with appropriate medical

        specialists, including but not limited to infectious disease physicians on a timely

        basis; and by




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                K.        Otherwise failing to properly diagnose, treat and care for Mr.

         Howard.

         30.    At all material times hereto, had the United States, through its agency,

  U.S. Dept. of Veterans Affairs, used reasonable care under the circumstances, Howard

  would not have sustained permanent medical disabilities and resulting pain and

  suffering.

         31.    The negligence of Defendant, as stated in this Complaint, was either

  known or should have been known by Defendant, United States, through its agency,

  U.S. Dept. of Veterans Affairs, had it used reasonable care under the circumstances.

         32.    As a direct result of Defendant’s negligence, Howard was permanently

  injured in and about his body and sustained the following damages:

                A.        Disability;

                B.        Disfigurement;

                C.        Pain and suffering;

                D.        Inconvenience;

                E.        Loss of ability and capacity for the enjoyment of life;

                F.        Extensive and expensive need for past and future medical

         treatment;

                G.        Medical nursing care and treatment;

                H.        Lost wages; and

                I.        Earning capacity, both past and future.

  These losses are either permanent or continuing in nature and Plaintiff, Howard, will

  continue to suffer such losses in the future.

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         WHEREFORE, Plaintiff, Howard, demands judgment for damages against

  United States, through its agency, U.S. Dept. of Veterans Affairs, in accordance with the

  demands made in his Standard Form 95, as attached hereto and included herein,

  exclusive of interest and costs which he prays for in addition thereto.

                              GOOD FAITH REVIEW OF MATTER

         33.    This will certify that the undersigned counsel has conducted a good-faith

  review of this matter as it pertains to the United States, through its Department of

  Veterans Affairs Hospital and its applicable health care providers, and certifies that he

  has obtained bona fide medical opinions confirming that reasonable and good faith

  grounds exist to believe malpractice has occurred in the care of treatment of Mr.

  Howard.

         Dated: May 4, 2017

                                                              /s/ John W. McLuskey
                                                            John W. McLuskey
                                                            Florida Bar No.: 331171
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